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Attorney or Party Name, Address, Telephone & FAX

Nos., State Bar No. & Email Address
Robert H. Marcereau (SBN 211534)

MARCEREAU & NAZIF

26000 Tawne Centre Drive, Suite 230
Foothill Ranch, California 92610

Tel: (949) 531-6500

Fax: (949} 531-6501

E-mail: rmarcereau@mncalaw.com

individual appearing without attorney
DX] Attorney for: Plaintiff

FOR COURT USE ONLY

UNITED STATES BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION

in re:
Kent Wycliffe Easter, dba Kent Easter Consulting,

dba Law Offices of Kent VW. Easter

CASE NO.:

ADVERSARY NO.: 8:16-ap-01114-ES

8:16-bk-10223-ES

GHAPTER: 7
Debtor(s).
Kelli Peters JOINT STATUS REPORT
[LBR 7016-1(a)(2)]
a DATE: July 21, 2016
Plaintiff(s). | tinge. 9:30 AM
vs. COURTROOM: 5A
Kent Wycliffe Easter, dba Kent Easter Consulting, ADDRESS: 411 W. Fourth Street

dba Law Offices of Kent W. Easter

Defendani(s).

Santa Ana, CA 92701

The parties submit the following JOINT STATUS REPORT in accordance with LBR 7016-1 (a)(2):

A. PLEADINGS/SERVICE:

1. Have ail parties been served with the compiaint/counterclaim/cross-claim, etc.

(Claims Documents)?

2. Have all parties filed and served answers to the Claims Documents?

3. Have all motions addressed to the Claims Documents been resolved?

4. Have counsel met and conferred in compliance with LBR 7026-17

Yes [J] No

Yes LJ] No
TJ yes [No
Bi Yes [J No

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5. If your answer to any of the four preceding questions is anything other than an unqualified “YES,” please
explain below (or on atfached page):

B. READINESS FOR TRIAL:

1. When will you be ready for trial in this case?
Plaintiff Defendant

October, 2016 On or before August 29, 2016

2. If your answer to the above is more than 4 months after the summons issued in this case, give reasons for further

delay.
Plaintiff Defendant
Plaintiff intends to file a Motion for Summary N/A
Judgment

3. When do you expect to complete your discovery efforts?
Plaintiff Defendant

Discovery is complete Discovery is complete

4. What additional discovery do you require to prepare for trial?
Plaintiff Defendant

None None

Cc. TRIAL TIME:

1. Whatis your estimate of the time required to present your side of the case at trial (including rebuttal stage if
applicable)?

Plaintiff Defendant
1/2 day 1/2 day

2. How many witnesses do you intend to call at trial (including opposing parties)?
Plaintiff Defendant

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3. How many exhibits do you anticipate using at trial?
, Plaintiff Defendant
10 Unknown at this time

D. PRETRIAL CONFERENCE:

A pretrial conference is usually conducted between a week to a month before trial, at which time a pretrial order will
be signed by the court. [See LBR 7016-1.] If you believe that a pre-trial conference is not necessary or appropriate in
this case, please so note below, stating your reasons:

Plaintiff Defendant
Pretrial conference |L] is is not requested Pretrial conference [_lis FX is not requested
Reasons: . Reasons:
Plaintiff Defendant
Pretrial conference should be set after: Pretrial conference should be set after:

(date) (dafe)

E. SETTLEMENT:

1. What is the status of settlement efforts?

Defendant has stipulated that he may stipulate to nondischarability

2. Has this dispute been formally mediated? CH Yes mM No
lf so, when?

3. Do you wani this matter sent io mediation at this time?

Plaintiff Defendant
[Yes Bd No [] Yes No

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F. FINAL JUDGMENT/ORDER:

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Any party who contests the bankruptcy court’s authority to enter a final judgment and/or order in this adversary
proceeding must raise its objection below. Failure to select either box below may be deemed consent.

Plaintiff
KK | do consent
Ll | do not consent

to the bankruptcy court's entry of a final judgment
and/or order in this adversary proceeding.

Defendant
fx | do consent
[_] i do not consent

to the bankruptcy court's entry of a final judgment
and/or order in this adversary proceeding.

G. ADDITIONAL COMMENTS/RECOMMENDATIONS RE TRIAL: (L/se additional page if necessary)

Respectfully submitted,
Date: 7/7/16

MARCEREAU & NAZIF
Printed name of law firm

/sf Robert H. Marcereau
Signature

Robert H. Marcereau
Printed name

Attorney for: _Plaintiff

Date: 7/7/16
NiA

Printed name of law firm

/s/ Kent W. Easter

Signature

Kent W. Easter

Printed name

Attorney for: Self-Represented

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PROOF OF SERVICE OF DOCUMENT

| am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
26000 Towne Cenire Drive, Suite 230, Foothill Ranch, CA 92610

A true and correct copy of the foregoing document entitled: JOINT STATUS REPORT [LBR 7016-1(a}{2)] will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF}: Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
07/07/2016 _, | checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

United States Trustee: ustpregion16.sa.eci@usdoj.gov
Weneta M Kosmala (TR): ecf.alert+Kosmala@titlexi.com

Ci Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:

On (date) 07/07/2016 _, | served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Debtor/Defendant: Kent VW Easter, 153 Baywood Dr., Newport Beach, CA 92660

Judge: Honorable Erithe A. Smith, U.S. Bankruptcy Court Central District of California, 411 West Fourth Street, Suite
5040 / Courtroom 5A, Santa Ana, CA 92701-4593

Tustee: WWeneta M.A. Kosmala, P.O. Box 16279, Irvine, CA 92623

Office of The U.S. Trustee, 411 West Fourth Street, Suite 9041, Santa Ana, CA 92701

[Ly Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controtling LBR, on (date) _ | served the

following persons and/or entities by persona! delivery, overnight mail service, or (for those who consented in writing to
such service method}, by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

|; Service information continued on attached page

| declare under penalty of perjury under the faws of the United States that the foregoing is true and correct.

07/07/2016 Nicole Lipowski és! Nicole Lipowski
Date Printed Name Signature

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